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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

___________________________________
MARIE SMITH                         )                 Case Number
                                    )
            Plaintiff               )
                                    )
            vs.                     )                 CIVIL COMPLAINT
                                    )
STILLMAN LAW OFFICES                )
                                    )                 JURY TRIAL DEMANDED
            Defendant               )
___________________________________ )


                             COMPLAINT AND JURY DEMAND

        COMES NOW, Plaintiff, Marie Smith, by and through her undersigned counsel, Brent F.

Vullings, Esquire of Warren & Vullings, LLP and Joseph Bernwanger, Esquire complaining of

Defendant, and respectfully avers as follows:



                             I. INTRODUCTORY STATEMENT

        1.     Plaintiff, Marie Smith , is an adult natural person and she bring this action for

actual and statutory damages and other relief against Defendant for violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”), which prohibits debt collectors

from engaging in abusive, deceptive and unfair practices.



                                      II. JURISDICTION

        2.     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28 U.S.C. §

1337.
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       3.      Venue in this District is proper in that the Plaintiff resides in this District and the

Defendant conducts business in the District.



                                          III. PARTIES

       4.      Plaintiff, Marie Smith, is an adult natural person residing at 2710 Lacota Road,

Waterford, Michigan 48328. At all times material and relevant hereto, Plaintiff is a “consumer”

as defined by the FDCPA, 15 U.S.C. § 1692a (2).

       5.      Defendant, Stillman Law Offices (“Defendant”), at all times relevant hereto, is

and was a law office engaged in the business of collecting debt within the state of Michigan with

a primary office located at 445 South Livernois Road, Suite 333, PO Box 5016, Rochester Hills,

MI 48308-5016.

       6.      Defendant is engaged in the collection of debts from consumers using the

telephone and mail. Defendant regularly attempts to collect consumer debts alleged to be due to

another. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).




                               IV. FACTUAL ALLEGATIONS

       7.      In or around the month of May, 2010, Plaintiff started to receive calls from

Defendant in regards to a debt allegedly owed on a Chase account.

       8.      Defendant stated that they were collecting approximately $5,500.00 from the

Plaintiff on this delinquent account.
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        9.     During that same time, Plaintiff informed the Defendant that she had retained the

services of the law firm Persels & Associates, LLC and that they should call their firm directly in

this matter.

        10.    Plaintiff continued to receive calls from the Defendant.

        11.    On or about May 25, 2010, Persels sent a “cease and desist” letter to the

Defendant. See Exhibit “A” (letter) attached hereto.

        12.    Defendant continued to call and try to collect from Plaintiff throughout the

months of May and June, 2010.

        13.    On or about July 8, 2010, Persels sent a second (2nd) “cease and desist” letter to

the Defendant. See Exhibit “B” (letter) attached hereto.

        14.    On or about August 30, 2010, Plaintiff received a call from Defendant and asked

them again to call Persels on this matter.

        15.    Plaintiff was again told that Defendant would not call or deal with Persels and that

the Plaintiff needed to work with Defendant directly.

        16.    Any and all contact with the Plaintiff after knowledge that they are represented by

an attorney is a violation of The Fair Debt Collection Practices Act.

        17.    The Defendant knew or should have known that their actions violated the FDCPA.

Additionally, Defendant could have taken the steps necessary to bring their and their agent’s

actions within compliance of the FDCPA, but neglected to do so and failed to adequately review

those actions to insure compliance with the law.
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        18.    At all times pertinent hereto, Defendant was acting by and through it agents,

servants and/or employees, who were acting with the scope and course of their employment and

under the direct supervision and control of Defendant herein.

        19.    At all times pertinent hereto, the conduct of Defendant as well as its agents,

servants and/or employees, was malicious, intentional, willful, reckless, negligent and in wanton

disregard for federal and state law and the rights of the Plaintiffs herein.

        20.    As a result of Defendant’s conduct, Plaintiffs have sustained actual damages,

including, but not limited to, injury to Plaintiffs reputation, invasion of privacy, damage to

Plaintiffs credit, out-of-pocket expenses, physical, emotional and mental pain and anguish and

pecuniary loss and she will continue to suffer same for an indefinite time in the future, all to her

great detriment and loss.



                                        COUNT I – FDCPA

        21.    The above paragraphs are hereby incorporated herein by reference.

        22.    At all times relevant hereto, Defendant was attempting to collect an alleged debt

which was incurred by Plaintiffs for personal, family or household purposes and is a “debt” as

defined by 15 U.S.C. § 1692a(5).

        23.    The foregoing acts and omissions constitute violations of the FDCPA, including

but not limited to, violations of:

                §§ 1692c(a)(2):        After it knows the consumer to be represented by an

                                       attorney unless attorney consents or is unresponsive
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               §§ 1692c(c):            After written notification that consumer refuses to pay debt,

                                       or that consumer wants collector to cease

                                       communication

               §§ 1692d:               Any conduct the natural consequence of which is to harass,

                                       oppress, or abuse any person

               §§ 1692d(5):            Caused the phone to ring or engaged any person in

                                       telephone conversations repeatedly

               §§ 1692e:               Any other false, deceptive, or misleading representation or

                                       means in connection with the debt collection

               §§ 1692e(10):           Any false representation or deceptive means to collect a

                                       debt or obtain information about a consumer

               §§ 1692f:               Any unfair or unconscionable means to collect or attempt

                                       to collect the alleged debt

       WHEREFORE, Plaintiffs respectfully prays that judgment be entered against the

Defendant, Stillman Law Offices, for the following:

       a.      Actual damages;

       b.      Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.      Reasonable attorney’s fees and litigation expenses, plus costs of suit; and

       d.      Such additional and further relief as may be appropriate or that the

       interests of justice require.
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                                    V. JURY DEMAND

            Plaintiff hereby demands a jury trial as to all issues herein.



                                   Respectfully submitted,

Date: November 17, 2010            BY: /s/ Brent F. Vullings
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